

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS







NO. WR-77,329-01






BAKARI B. WHITE, Relator


v.


HON. EDWIN KLEIN, JUDGE OF THE 420th DISTRICT COURT, Respondent







ON APPLICATION FOR A WRIT OF MANDAMUS


CAUSE NO. F1017859
			

FROM NACOGDOCHES COUNTY






	Per curiam.


O R D E R



	Relator has filed a motion for leave to file an application for a writ of mandamus pursuant
to the original jurisdiction of this Court.  In it, he contends that he filed an application for a writ of
habeas corpus in the 420th District Court of Nacogdoches County, that more than 35 days have
elapsed, and that the application has not yet been forwarded to this Court.  It appears that the district
court entered an order designating issues on November 7, 2011.

	Respondent, the Judge of the 420th District Court of Nacogdoches County, shall file a
response with this Court by having the District Clerk submit the record on such habeas corpus
application.  In the alternative, Respondent may resolve the issues set out in the order designating
issues and then have the District Clerk submit the record on such application.  In either case,
Respondent's answer shall be submitted within 30 days of the date of this order.  This application
for leave to file a writ of mandamus will be held in abeyance until Respondent has submitted his
response.


Filed: August 22, 2012

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